Case 5:20-cr-50122-kLP Document 202 Filed 01/24/23—Page 1 of 1 PagelD #: 1016

AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the
District of South Dakota m
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United States of America re = wn
v. ) C ee Oo
) Case No. 9! 2O-cr-SOlT2-0 ay
KIMBERLEE "STORMY" PITAWANAKWAT, ) Oa~
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oe oe ) = Ole
Defendant o
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) KIMBERLEE "STORMY" PITAWANAKWAT,

who is accused of an offense or violation based on the following document filed with the court:

W Indictment 1 Superseding Indictment 1 Information “] Superseding Information © Complaint

Probation Violation Petition Supervised Release Violation Petition 1 Violation Notice O Order of the Court

This offense is briefly described as follows:

False Statements 18 U.S.C. § 1001(a)(2)

Accessory After the Fact 18U.S.C.§3

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: Oy

Gig/2020
Date:  ——- BBA 020

Issuing officer 's signature

_ Matthew W. Thelen, Clerk of Court

Printed name and title

City and state: Rapid City, SD

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Qh | oti . and the person was arrested on (date) _ GRSLBIIO

This warrant Was re COD on (date)
at (city and state) "Keelal _
Date: _ eu faz es.

ae sting Le 's signature

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Printed name and title

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